UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK

                                                       )
IN RE:                                                 )   Chapter 11
                                                       )
THE DIOCESE OF ROCHESTER,                              )   Case No. 19-20905 (CGM)
                                                       )
                             Debtor.                   )
                                                       )


                                   NOTICE OF FILING

         PLEASE TAKE NOTICE that, in accordance with the Administrative Order Establishing

Procedures for Interim Compensation and Reimbursement for Expenses for Professionals and

Members of Official Committees [Docket No. 318], Pachulski Stang Ziehl & Jones LLP has

filed the First Monthly Fee Statement of Pachulski Stang Ziehl & Jones, LLP for Compensation

for Services Rendered and Reimbursement of Expenses As Counsel to The Official Committee of

Unsecured Creditors for The Diocese Of Rochester for The Period September 24, 2019 Through

November 30, 2019, a copy of which is attached hereto and hereby served upon you.


Date: December 17, 2019                   PACHULSKI STANG ZIEHL & JONES LLP


                                          /s/ James I. Stang
                                          James I. Stang (pro hac vice)
                                          Ilan D. Scharf
                                          780 Third Avenue, 34th Floor
                                          New York, NY 10017
                                          Telephone: (212) 561-7700
                                          Facsimile: (212) 561-7777
                                          Email: jstang@pszjlaw.com
                                                     ischarf@pszjlaw.com

                                          Counsel to the Official Committee of Unsecured
                                          Creditors




DOCS_LA:326608.1 18489/002
   Case 2-19-20905-PRW, Doc 332, Filed 12/17/19, Entered 12/17/19 14:43:44,
                    Description: Main Document , Page 1 of 25
UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK

                                                          )
IN RE:                                                    )   Chapter 11
                                                          )
THE DIOCESE OF ROCHESTER,                                 )   Case No. 19-20905 (CGM)
                                                          )
                              Debtor.                     )
                                                          )

FIRST MONTHLY FEE STATEMENT OF PACHULSKI STANG ZIEHL & JONES LLP
   FOR COMPENSATION FOR SERVICES RENDERED AND REIMBURSEMENT
    OF EXPENSES AS COUNSEL TO OFFICIAL COMMITTEE OF UNSECURED
      CREDITORS FOR THE DIOCESE OF ROCHESTER FOR THE PERIOD
            SEPTEMBER 24, 2019 THROUGH NOVEMBER 30, 2019

Name of Applicant:                           Pachulski Stang Ziehl & Jones LLP

Authorized to Provide Professional
Services to:                                 The Official Committee of Unsecured Creditors for
                                             the Diocese of Rochester

Date of Retention:                           Order Entered November 1, 2019 [Docket No. 160]
                                             Employment Effective September 24, 2019
Period for which compensation and
Reimbursement is sought:                     September 24, 2019 through November 30, 2019

Amount of compensation sought
as well as actual, reasonable and
necessary:                                   80% OF $157,522.50 ($126,018.00)

Amount of expense reimbursement sought
as actual, reasonable and necessary:   $3,790.46

This is a X monthly ____ quarterly ____ final application
This is the first monthly fee statement by Pachulski Stang Ziehl & Jones LLP in this case.




DOCS_LA:326608.1 18489/002
   Case 2-19-20905-PRW, Doc 332, Filed 12/17/19, Entered 12/17/19 14:43:44,
                    Description: Main Document , Page 2 of 25
                               Pachulski Stang Ziehl & Jones LLP
                                       10100 Santa Monica Blvd.
                                              13th Floor
                                        Los Angeles, CA 90067
                                                                  November 30, 2019
JIS                                                               Invoice 123646
                                                                  Client  18489
                                                                  Matter  00002
                                                                          JIS

RE: Committee Representation

 _______________________________________________________________________________________

         STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 11/30/2019
               FEES                                               $157,522.50
               EXPENSES                                             $3,790.46
               TOTAL CURRENT CHARGES                              $161,312.96

               TOTAL BALANCE DUE                                  $161,312.96




         Case 2-19-20905-PRW, Doc 332, Filed 12/17/19, Entered 12/17/19 14:43:44,
                          Description: Main Document , Page 3 of 25
Pachulski Stang Ziehl & Jones LLP                                    Page:     2
Diocese of Rochester O.C.C.                                          Invoice 123646
18489 - 00002                                                        November 30, 2019




  Summary of Services by Professional
  ID        Name                        Title              Rate       Hours              Amount

 BDD        Dassa, Beth D.              Paralegal         395.00       6.10         $2,409.50

 CHM        Mackle, Cia H.              Counsel           650.00       9.20         $5,980.00

 IAWN       Nasatir, Iain A. W.         Partner           700.00      13.40         $9,380.00

 IDS        Scharf, Ilan D.             Partner           700.00     120.10        $84,070.00

 JIS        Stang, James I.             Partner           700.00      49.70        $34,790.00

 KHB        Brown, Kenneth H.           Partner           700.00       2.40         $1,680.00

 LAF        Forrester, Leslie A.        Other             425.00       0.50          $212.50

 LSC        Canty, La Asia S.           Paralegal         395.00       5.40         $2,133.00

 SWG        Golden, Steven W.           Associate         575.00       7.30         $4,197.50

 VAN        Newmark, Victoria A.        Counsel           700.00      18.10        $12,670.00

                                                                    232.20         $157,522.50




         Case 2-19-20905-PRW, Doc 332, Filed 12/17/19, Entered 12/17/19 14:43:44,
                          Description: Main Document , Page 4 of 25
Pachulski Stang Ziehl & Jones LLP                                       Page:     3
Diocese of Rochester O.C.C.                                             Invoice 123646
18489 - 00002                                                           November 30, 2019


  Summary of Services by Task Code
  Task Code         Description                                 Hours                       Amount

 AA                 Asset Analysis/Recovery[B120]               20.40                  $14,280.00

 BL                 Bankruptcy Litigation [L430]                10.60                   $7,420.00

 CA                 Case Administration [B110]                  19.10                  $12,907.50

 CF                 Committee Formation                          3.70                   $2,440.00

 CO                 Claims Admin/Objections[B310]               10.80                   $5,486.00

 CP                 Compensation Prof. [B160]                    0.80                       $560.00

 FF                 Financial Filings [B110]                     2.80                   $1,960.00

 FN                 Financing [B230]                             0.90                       $630.00

 GC                 General Creditors Comm. [B150]              43.10                  $30,170.00

 HE                 Hearing                                     10.40                   $7,219.00

 IC                 Insurance Coverage                          15.00                  $10,500.00

 MC                 Meeting of Creditors [B150]                 32.60                  $22,820.00

 OP                 Operations [B210]                            2.20                   $1,540.00

 RP                 Retention of Prof. [B160]                    4.00                   $2,068.00

 RPO                Ret. of Prof./Other                          2.40                   $1,680.00

 SL                 Stay Litigation [B140]                      53.40                  $35,842.00

                                                               232.20                 $157,522.50




         Case 2-19-20905-PRW, Doc 332, Filed 12/17/19, Entered 12/17/19 14:43:44,
                          Description: Main Document , Page 5 of 25
Pachulski Stang Ziehl & Jones LLP                                    Page:     4
Diocese of Rochester O.C.C.                                          Invoice 123646
18489 - 00002                                                        November 30, 2019


  Summary of Expenses
  Description                                                                            Amount
Air Fare [E110]                                                                $1,643.51
Conference Call [E105]                                                           $504.02
Federal Express [E108]                                                            $58.72
Hotel Expense [E110]                                                           $1,512.18
Reproduction/ Scan Copy                                                           $10.40
Travel Expense [E110]                                                             $61.63

                                                                               $3,790.46




         Case 2-19-20905-PRW, Doc 332, Filed 12/17/19, Entered 12/17/19 14:43:44,
                          Description: Main Document , Page 6 of 25
Pachulski Stang Ziehl & Jones LLP                                                                Page:     5
Diocese of Rochester O.C.C.                                                                      Invoice 123646
18489 - 00002                                                                                    November 30, 2019


                                                                                         Hours          Rate         Amount

  Asset Analysis/Recovery[B120]
 10/02/2019   IDS     AA        Email to Jim Stang regarding financials.                  0.20       700.00          $140.00

 10/03/2019   IDS     AA        Telephone conference with W. Gordon regarding             0.40       700.00          $280.00
                                Diocese/Parish relationship.

 10/06/2019   IDS     AA        Review form 990 filings for entities related to           1.60       700.00      $1,120.00
                                debtor.

 10/14/2019   JIS     AA        Prepare draft of document due diligence list.             1.50       700.00      $1,050.00

 10/16/2019   JIS     AA        Review email regarding document production                0.10       700.00           $70.00
                                request, review request and respond.

 10/17/2019   JIS     AA        Review and revise document production request and         0.60       700.00          $420.00
                                forward to Debtor, Committee and state court
                                counsel.

 10/17/2019   JIS     AA        Telephone call with W. Gordon regarding discovery         0.10       700.00           $70.00
                                changes.

 10/17/2019   IDS     AA        Revise document request to debtor.                        2.10       700.00      $1,470.00

 10/17/2019   IDS     AA        Review notes from 341 meeting, SOAL, SOFA                 1.80       700.00      $1,260.00
                                redocument requests to debtor.

 10/18/2019   IDS     AA        Email with Debtor counsel regarding document              0.20       700.00          $140.00
                                request.

 10/19/2019   KHB     AA        Telephone call with J. Stang re Debtor's fiduciary        0.30       700.00          $210.00
                                duties and issues raised by fund raising based on
                                restrictions to keep funds from creditors.

 10/19/2019   KHB     AA        Review authorities re Debtor's fiduciary duties and       0.20       700.00          $140.00
                                issues raised by fund raising based on restrictions to
                                keep funds from creditors.

 10/21/2019   JIS     AA        Review website and related materials regarding            1.20       700.00          $840.00
                                restricted solicitations.

 10/21/2019   KHB     AA        Analyze New York nonprofit law and email to J.            1.00       700.00          $700.00
                                Stang re standing to sue management for breach of
                                duty.

 10/22/2019   JIS     AA        Telephone call with Donato regarding meeting              0.60       700.00          $420.00
                                agenda, including restricted gifts(.3) review Diocese
                                of Spokane materials re Debtor's duty on gifts (.3).

 10/29/2019   IDS     AA        Email to Jim Stang regarding discovery.                   0.40       700.00          $280.00

 10/29/2019   IDS     AA        Telephone conference with J. Amala regarding              0.40       700.00          $280.00
                                discovery.




         Case 2-19-20905-PRW, Doc 332, Filed 12/17/19, Entered 12/17/19 14:43:44,
                          Description: Main Document , Page 7 of 25
Pachulski Stang Ziehl & Jones LLP                                                             Page:     6
Diocese of Rochester O.C.C.                                                                   Invoice 123646
18489 - 00002                                                                                 November 30, 2019


                                                                                      Hours          Rate         Amount

 11/08/2019   JIS     AA        Review and comment on non disclosure agreement.        1.10       700.00          $770.00

 11/13/2019   JIS     AA        Review confidentiality agreement redline.              0.20       700.00          $140.00

 11/13/2019   IDS     AA        Revise confi agreement of Diocese.                     0.60       700.00          $420.00

 11/13/2019   IDS     AA        Telephone conference with Jim Stang regarding          0.30       700.00          $210.00
                                confi.

 11/13/2019   IDS     AA        Telephone conference with Debtor's counsel             1.10       700.00          $770.00
                                regarding NDA, Discovery, stay.

 11/13/2019   IDS     AA        Revise NDA                                             0.20       700.00          $140.00

 11/13/2019   IDS     AA        Telephone conference with Bill Gordon regarding        0.50       700.00          $350.00
                                NDA

 11/14/2019   JIS     AA        Research regarding restricted gift solicitation and    2.20       700.00      $1,540.00
                                impact of insolvency.

 11/18/2019   IDS     AA        Revise NDA.                                            0.60       700.00          $420.00

 11/19/2019   IDS     AA        Revise NDA.                                            0.30       700.00          $210.00

 11/27/2019   JIS     AA        Telephone Cia Mackle regarding memo on donative        0.60       700.00          $420.00
                                intent (.3); revise memo re donative intent (.3).

                                                                                      20.40                  $14,280.00

  Bankruptcy Litigation [L430]
 09/25/2019   IDS     BL        Review first day affidavits.                           1.70       700.00      $1,190.00

 09/27/2019   IDS     BL        Initial review of utility motion.                      0.20       700.00          $140.00

 09/27/2019   IDS     BL        Initial review of employee comp motion.                0.40       700.00          $280.00

 09/27/2019   IDS     BL        Initial review of PSIP motion.                         0.40       700.00          $280.00

 10/07/2019   IDS     BL        Telephone conference with counsel to Democrat and      0.30       700.00          $210.00
                                Caerter regarding seal motion.

 10/07/2019   IDS     BL        Review motion to seal                                  0.90       700.00          $630.00

 10/07/2019   IDS     BL        Telephone conference with Jim Stang regarding          0.20       700.00          $140.00
                                motion to seal.

 10/11/2019   IDS     BL        Memo to committee regarding first day motions.         0.80       700.00          $560.00

 10/11/2019   IDS     BL        Review cash management motion.                         0.80       700.00          $560.00

 10/11/2019   IDS     BL        Review utility motion.                                 0.60       700.00          $420.00




         Case 2-19-20905-PRW, Doc 332, Filed 12/17/19, Entered 12/17/19 14:43:44,
                          Description: Main Document , Page 8 of 25
Pachulski Stang Ziehl & Jones LLP                                                             Page:     7
Diocese of Rochester O.C.C.                                                                   Invoice 123646
18489 - 00002                                                                                 November 30, 2019


                                                                                      Hours          Rate         Amount

 10/11/2019   IDS     BL        Review PSIP motion.                                    0.80       700.00          $560.00

 10/11/2019   IDS     BL        Review wage and compensation motion.                   1.00       700.00          $700.00

 10/11/2019   IDS     BL        Review order to seal schedule F.                       0.40       700.00          $280.00

 10/11/2019   IDS     BL        Telephone conference with Jim Stang regarding first    0.40       700.00          $280.00
                                day motions.

 10/17/2019   JIS     BL        Telephone call UST regarding October 24 matters.       0.30       700.00          $210.00

 10/22/2019   JIS     BL        Telephone call with Donato and law clerk regarding     0.10       700.00           $70.00
                                10.24 hearing.

 10/23/2019   IDS     BL        Call with SCC regarding hearing.                       0.80       700.00          $560.00

 10/25/2019   IDS     BL        Telephone conference with Jim Stang regarding          0.40       700.00          $280.00
                                hearing; transcript, report to Committee.

 11/13/2019   IDS     BL        Revise ex parte motion for electronic access.          0.10       700.00           $70.00

                                                                                      10.60                   $7,420.00

  Case Administration [B110]
 09/25/2019   IDS     CA        Emails with SCC regarding administrative matters.      0.40       700.00          $280.00

 09/27/2019   IDS     CA        Emails to Committee regarding meeting scheduling.      0.30       700.00          $210.00

 09/27/2019   IDS     CA        Draft WIP list.                                        1.20       700.00          $840.00

 09/27/2019   IDS     CA        Follow up with SCC regarding contracts for case.       0.40       700.00          $280.00

 09/30/2019   CHM     CA        Conference call with state court counsel.              1.50       650.00          $975.00

 10/01/2019   CHM     CA        Committee conference call.                             1.50       650.00          $975.00

 10/02/2019   IDS     CA        Review articles and disclosures regarding DOR,         2.40       700.00      $1,680.00
                                including abuse allegations and property issues.

 10/07/2019   CHM     CA        Conference call with state court counsel.              1.20       650.00          $780.00

 10/07/2019   IDS     CA        Draft agenda for SCC meeting.                          0.40       700.00          $280.00

 10/11/2019   LSC     CA        Draft notice of appearance.                            0.20       395.00           $79.00

 10/16/2019   CHM     CA        Committee conference call.                             1.40       650.00          $910.00

 10/16/2019   JIS     CA        Review issues related to McQuade High School.          1.20       700.00          $840.00

 10/16/2019   IDS     CA        Telephone conference with Jim Stang regarding          0.30       700.00          $210.00
                                document request; PSZJ retention.

 10/17/2019   KHB     CA        Review media reports re abuse at McQuaid.              0.30       700.00          $210.00




         Case 2-19-20905-PRW, Doc 332, Filed 12/17/19, Entered 12/17/19 14:43:44,
                          Description: Main Document , Page 9 of 25
Pachulski Stang Ziehl & Jones LLP                                                             Page:     8
Diocese of Rochester O.C.C.                                                                   Invoice 123646
18489 - 00002                                                                                 November 30, 2019


                                                                                      Hours          Rate         Amount

 10/21/2019   CHM     CA        Conference call with state court counsel.              0.60       650.00          $390.00

 10/24/2019   IDS     CA        Meet with Jim Stang to prepare for hearing, meeting    1.00       700.00          $700.00
                                with Debtor.

 10/24/2019   IDS     CA        Meet with Debtor's counsel regarding case issues;      3.50       700.00      $2,450.00
                                documents, first days.

 11/13/2019   LSC     CA        File motion re personal electronic devices and         0.30       395.00          $118.50
                                correspondence regarding the same.

 11/21/2019   IDS     CA        Meet with Debtor's counsel regarding case status       1.00       700.00          $700.00
                                and document issues.

                                                                                      19.10                  $12,907.50

  Committee Formation
 09/27/2019   CHM     CF        Draft bylaws for DOR Committee; email same to I.       0.70       650.00          $455.00
                                Scharf for review.

 09/27/2019   CHM     CF        Update bylaws per I. Scharf comments and email         1.10       650.00          $715.00
                                same to I. Scharf and J. Stang.

 09/27/2019   IDS     CF        Review and revise Bylaws.                              0.70       700.00          $490.00

 10/01/2019   CHM     CF        Review Diocese of Rochester bylaws and email J.        0.20       650.00          $130.00
                                Stang re role of chair and vice-chair in light of
                                discussion on conference call.

 10/02/2019   CHM     CF        Telephone conference with J. Cali re Chair and Vice    1.00       650.00          $650.00
                                Chair roles and update Diocese of Rochester
                                Committee bylaws with Chair and Vice Chair roles
                                defined; email same to J. Stang.

                                                                                       3.70                   $2,440.00

  Claims Admin/Objections[B310]
 09/25/2019   IDS     CO        Review complaints against Diocese of Rochester         3.40       700.00      $2,380.00
                                regarding CVA cases.

 10/02/2019   JIS     CO        Telephone call with state court counsel regarding      0.30       700.00          $210.00
                                window constitutionality.

 10/04/2019   LSC     CO        Research and retrieval of complaints in connection     0.70       395.00          $276.50
                                with pending litigation.

 10/10/2019   BDD     CO        Email J. Stang re bar dates for diocese cases          0.10       395.00           $39.50

 10/15/2019   BDD     CO        Confer with J. Stang re bar date order project         0.10       395.00           $39.50




         Case 2-19-20905-PRW, Doc 332, Filed 12/17/19, Entered 12/17/19 14:43:44,
                          Description: Main Document , Page 10 of 25
Pachulski Stang Ziehl & Jones LLP                                                              Page:     9
Diocese of Rochester O.C.C.                                                                    Invoice 123646
18489 - 00002                                                                                  November 30, 2019


                                                                                       Hours          Rate         Amount

 10/18/2019   JIS     CO        Review bar date spreadsheet and email to state court    0.30       700.00          $210.00
                                counsel re same.

 10/18/2019   BDD     CO        Update Diocese chart re bar dates and email J. Stang    5.90       395.00      $2,330.50
                                re same

                                                                                       10.80                   $5,486.00

  Compensation Prof. [B160]
 10/04/2019   JIS     CP        Review interim compensation motion and email to I.      0.20       700.00          $140.00
                                Scharf and J. Dove re same.

 11/22/2019   IDS     CP        Comments to interim comp motion.                        0.60       700.00          $420.00

                                                                                        0.80                       $560.00

  Financial Filings [B110]
 11/01/2019   IDS     FF        Brief review of September MOR                           1.00       700.00          $700.00

 11/01/2019   IDS     FF        Respond to email from B. Gordon regarding MOR.          0.20       700.00          $140.00

 11/04/2019   IDS     FF        Review MOR, draft questions regarding same for          1.30       700.00          $910.00
                                debtor.

 11/05/2019   IDS     FF        Email to I. Palermo regarding MOR                       0.30       700.00          $210.00

                                                                                        2.80                   $1,960.00

  Financing [B230]
 10/01/2019   JIS     FN        Review and comment on draft order re M&T credit         0.30       700.00          $210.00
                                cards.

 10/03/2019   IDS     FN        Review cash collateral stipulation.                     0.60       700.00          $420.00

                                                                                        0.90                       $630.00

  General Creditors Comm. [B150]
 09/27/2019   JIS     GC        Draft memo to Committee regarding upcomiing             0.40       700.00          $280.00
                                committee call agenda.

 09/27/2019   IDS     GC        Update case WIP spreadsheet.                            0.80       700.00          $560.00

 09/30/2019   JIS     GC        Conference call with state court counsel regarding      1.60       700.00      $1,120.00
                                case background.

 10/01/2019   JIS     GC        Telephone conference with C. MGarabedian/Lee            0.20       700.00          $140.00
                                James (separate calls) regarding committee agenda
                                issues.



         Case 2-19-20905-PRW, Doc 332, Filed 12/17/19, Entered 12/17/19 14:43:44,
                          Description: Main Document , Page 11 of 25
Pachulski Stang Ziehl & Jones LLP                                                               Page:    10
Diocese of Rochester O.C.C.                                                                     Invoice 123646
18489 - 00002                                                                                   November 30, 2019


                                                                                        Hours          Rate         Amount

 10/01/2019   JIS     GC        Committee call.                                          1.50       700.00      $1,050.00

 10/02/2019   IDS     GC        Respond to Committee member questions regarding          0.20       700.00          $140.00
                                financials/discovery.

 10/02/2019   IDS     GC        Telephone conference with Amala regarding                0.30       700.00          $210.00
                                Diocese litigation issues.

 10/02/2019   IDS     GC        Call with SCC regarding case issues; background.         0.70       700.00          $490.00

 10/03/2019   JIS     GC        Telephone call with Debtor's counsel regarding bar       1.70       700.00      $1,190.00
                                date, affiliate litigation, 341(a) meeting, document
                                productions (1.5); follow up with Ilan Scharf (.2).

 10/03/2019   IDS     GC        Email to Committee regarding call scheduling and         0.30       700.00          $210.00
                                first meeting.

 10/07/2019   JIS     GC        State Court Counsel call re 341 meeting and              1.20       700.00          $840.00
                                professionals.

 10/11/2019   JIS     GC        Telephone call with Ilan Scharf regarding judicial       0.20       700.00          $140.00
                                issues.

 10/14/2019   JIS     GC        Conference call with state court counsel regarding       1.00       700.00          $700.00
                                case issues.

 10/16/2019   JIS     GC        Committee conference call meeting.                       1.50       700.00      $1,050.00

 10/16/2019   KHB     GC        Confer with J. Stang re recusal issues.                  0.30       700.00          $210.00

 10/16/2019   IDS     GC        Attend committee meeting.                                1.40       700.00          $980.00

 10/16/2019   IDS     GC        Review material in advance of committee meeting.         0.60       700.00          $420.00

 10/17/2019   JIS     GC        Review case law regarding recusal based on board         1.30       700.00          $910.00
                                membership; research re facts of recusal and email
                                to Committee and counsel re status of review.

 10/17/2019   JIS     GC        Telephone call with Debtor's counsel regarding case      1.80       700.00      $1,260.00
                                issues, including recusal, October 24 hearings.

 10/17/2019   JIS     GC        Two calls with advisors on recusal issues.               0.40       700.00          $280.00

 10/17/2019   KHB     GC        Review authorities re recusal standard.                  0.30       700.00          $210.00

 10/17/2019   IDS     GC        Call with Debtor's counsel regarding various             0.90       700.00          $630.00
                                matters.

 10/17/2019   IDS     GC        Telephone conference with Jim Stang regarding call       0.20       700.00          $140.00
                                with debtor.

 10/18/2019   JIS     GC        Telephone call with Ilan Scharf re recusal issues and    0.30       700.00          $210.00
                                other case issues.




         Case 2-19-20905-PRW, Doc 332, Filed 12/17/19, Entered 12/17/19 14:43:44,
                          Description: Main Document , Page 12 of 25
Pachulski Stang Ziehl & Jones LLP                                                                Page:    11
Diocese of Rochester O.C.C.                                                                      Invoice 123646
18489 - 00002                                                                                    November 30, 2019


                                                                                         Hours          Rate         Amount

 10/21/2019   JIS     GC        Review email inquiring about Paul Schnacky and            0.20       700.00          $140.00
                                email to debtor's counsel re same; check website for
                                Schnacky status.

 10/21/2019   JIS     GC        Conference call with state court counsel re issues for    0.50       700.00          $350.00
                                October 24 hearing.

 10/21/2019   JIS     GC        Draft email to Committee re status.                       0.50       700.00          $350.00

 10/23/2019   JIS     GC        Committee call.                                           1.10       700.00          $770.00

 10/24/2019   JIS     GC        Breakfast meeting with Ilan Scharf to review agenda       3.50       700.00      $2,450.00
                                for Debtor's meeting (1.2); attend meeting with
                                Debtor's counsel re case issues (2.3).

 10/24/2019   JIS     GC        Draft email to committee regarding meeting with           1.10       700.00          $770.00
                                Debtor and hearing.

 10/24/2019   IDS     GC        Meet with Jim Stang regarding hearing; next steps in      1.00       700.00          $700.00
                                case.

 10/28/2019   IDS     GC        Prepare for and attend call with SCC regarding            1.30       700.00          $910.00
                                documents, case, parish stay.

 10/29/2019   IDS     GC        Email to SCC regarding electronics order.                 0.20       700.00          $140.00

 10/29/2019   IDS     GC        Review correspondence from J. Coli.                       0.40       700.00          $280.00

 10/30/2019   JIS     GC        Committee call.                                           0.60       700.00          $420.00

 10/30/2019   IDS     GC        Prepare for and attend Committee call.                    0.30       700.00          $210.00

 10/30/2019   IDS     GC        Draft agenda for committee call.                          0.30       700.00          $210.00

 11/04/2019   JIS     GC        Conference call with state court counsel re case.         0.70       700.00          $490.00

 11/04/2019   IDS     GC        Prepare for call with SCC                                 0.40       700.00          $280.00

 11/04/2019   IDS     GC        Attend call with SCC regarding documents, parish          0.80       700.00          $560.00
                                stay and stay relief.

 11/06/2019   JIS     GC        Email to State Court Counsel regarding telephone          0.20       700.00          $140.00
                                call with Donato.

 11/06/2019   JIS     GC        Telephone call with Steve Donato regarding parish         0.70       700.00          $490.00
                                stay, bar date, document production.

 11/06/2019   JIS     GC        Telephone call to Ingrid Palermo regarding parish         0.30       700.00          $210.00
                                service, documents and MOR questions.

 11/06/2019   IDS     GC        Prepare for and attend meeting with committee             1.00       700.00          $700.00
                                regarding documents and motion for stay relief.




         Case 2-19-20905-PRW, Doc 332, Filed 12/17/19, Entered 12/17/19 14:43:44,
                          Description: Main Document , Page 13 of 25
Pachulski Stang Ziehl & Jones LLP                                                             Page:    12
Diocese of Rochester O.C.C.                                                                   Invoice 123646
18489 - 00002                                                                                 November 30, 2019


                                                                                      Hours          Rate         Amount

 11/11/2019   JIS     GC        Conference call with state court counsel regarding     0.70       700.00          $490.00
                                document production, NDA, stay relief.

 11/11/2019   IDS     GC        Revise electronics order.                              0.40       700.00          $280.00

 11/11/2019   IDS     GC        Draft agenda for committee.                            0.50       700.00          $350.00

 11/11/2019   IDS     GC        Telephone conference with J. Allen regarding           0.40       700.00          $280.00
                                case/hearing.

 11/11/2019   IDS     GC        Committee call.                                        1.40       700.00          $980.00

 11/13/2019   JIS     GC        Conference call with Debtor regarding Sec. 345,        0.90       700.00          $630.00
                                NDA, parish stay, CNA stay relief motion.

 11/13/2019   JIS     GC        Committee call (1.4) and follow up with Ilan Scharf    1.70       700.00      $1,190.00
                                (.3).

 11/18/2019   JIS     GC        State Court Counsel call.                              0.50       700.00          $350.00

 11/18/2019   IDS     GC        Attend call with SCC regarding case; NDA,              0.70       700.00          $490.00
                                documents, parish stay, stay relief.

 11/19/2019   IDS     GC        Memo to client regarding November 21st hearing.        1.20       700.00          $840.00

 11/25/2019   IDS     GC        Call with SCC regarding case status.                   0.50       700.00          $350.00

                                                                                      43.10                  $30,170.00

  Hearing
 10/23/2019   IDS     HE        Telephone conference with Jim Stang regarding          0.40       700.00          $280.00
                                hearing.

 10/23/2019   IDS     HE        Prepare for hearing. Review applicable motions and     2.80       700.00      $1,960.00
                                order.

 10/24/2019   JIS     HE        Attend Bankruptcy Court hearing.                       1.80       700.00      $1,260.00

 10/24/2019   IDS     HE        Attend hearing                                         2.00       700.00      $1,400.00

 10/24/2019   IDS     HE        Telephone conference with SCC regarding hearing.       0.40       700.00          $280.00

 11/19/2019   LSC     HE        Coordinate telephonic appearance at 11/20/19           0.20       395.00           $79.00
                                hearing and correspondence regarding the same.

 11/21/2019   JIS     HE        Telephone conference with Ilan Scharf regarding        0.60       700.00          $420.00
                                November 21, 2019 hearing.

 11/21/2019   IDS     HE        Attend hearing.                                        1.50       700.00      $1,050.00

 11/21/2019   IDS     HE        Email to Committee regarding hearing.                  0.30       700.00          $210.00




         Case 2-19-20905-PRW, Doc 332, Filed 12/17/19, Entered 12/17/19 14:43:44,
                          Description: Main Document , Page 14 of 25
Pachulski Stang Ziehl & Jones LLP                                                               Page:    13
Diocese of Rochester O.C.C.                                                                     Invoice 123646
18489 - 00002                                                                                   November 30, 2019


                                                                                        Hours          Rate         Amount

 11/21/2019   IDS     HE        Telephone conference with Jim Stang regarding            0.40       700.00          $280.00
                                hearing.

                                                                                        10.40                   $7,219.00

  Insurance Coverage
 09/26/2019   IAWN IC           Exchange emails with local counsel and James I           0.10       700.00           $70.00
                                Stang re pro hac vice v. bar admission

 09/30/2019   IAWN IC           Telephone conference with James I. Stang re status       0.10       700.00           $70.00

 10/09/2019   IAWN IC           Review first day, follow up with James I Stang re        0.50       700.00          $350.00
                                same

 10/11/2019   IAWN IC           Review James I Stang email re insurance, review          1.40       700.00          $980.00
                                first day motion, respond to James I Stang via email
                                and telephone conference, email Murray and Donato
                                re same

 10/11/2019   JIS     IC        Meeting with Iain Nasatir regarding insurance            0.30       700.00          $210.00
                                coverage issues on pool motion.

 10/12/2019   IAWN IC           Exchange emails with Murray, Donato and James I          0.20       700.00          $140.00
                                Stang re first day motion

 10/14/2019   IAWN IC           Exchange emails with Donato, conference call with        0.70       700.00          $490.00
                                Donato, Grayson re first day motion

 10/14/2019   IAWN IC           Review emails from James I Stang to SCC re               0.30       700.00          $210.00
                                agreement with diocese

 10/15/2019   IAWN IC           Exchange emails and telephone conferences with           0.90       700.00          $630.00
                                Grayson re first day order language, exchange
                                emails with James I Stang re same

 10/15/2019   IAWN IC           Review emails from Donato and Grayson re                 0.20       700.00          $140.00
                                confidentiality agreement and other issues

 10/16/2019   IAWN IC           Email Grayson re language in order                       0.10       700.00           $70.00

 10/17/2019   IAWN IC           Review emails with James I Stang and Ilan Scharf         0.20       700.00          $140.00
                                and Diocese re first day order

 10/17/2019   IAWN IC           Conference call email etc with Diocese re first day      0.40       700.00          $280.00
                                order insurance

 10/31/2019   IAWN IC           Review article on insurance in case, review first day    0.80       700.00          $560.00
                                motion re same

 11/04/2019   IAWN IC           Review insurance order and email trail for Ilan          0.40       700.00          $280.00
                                Scharf and confirm




         Case 2-19-20905-PRW, Doc 332, Filed 12/17/19, Entered 12/17/19 14:43:44,
                          Description: Main Document , Page 15 of 25
Pachulski Stang Ziehl & Jones LLP                                                             Page:    14
Diocese of Rochester O.C.C.                                                                   Invoice 123646
18489 - 00002                                                                                 November 30, 2019


                                                                                      Hours          Rate         Amount

 11/06/2019   IAWN IC           Review Ilan Scharf email re agenda, James I Stang      0.20       700.00          $140.00
                                and Murray emails re call re insurance

 11/07/2019   IAWN IC           Conference call re insurance, review coverage chart    2.30       700.00      $1,610.00
                                and analyze

 11/07/2019   JIS     IC        Review insurance coverage chart.                       0.20       700.00          $140.00

 11/07/2019   JIS     IC        Conference call with Diocese re coverage maps.         1.60       700.00      $1,120.00

 11/07/2019   JIS     IC        Office conference with Ilan Scharf regarding           0.20       700.00          $140.00
                                insurance coverage maps.

 11/07/2019   IDS     IC        Call with Diocese coverage                             1.60       700.00      $1,120.00

 11/07/2019   IDS     IC        Office conference with Jim Stang regarding             0.20       700.00          $140.00
                                coverage.

 11/11/2019   IAWN IC           Review emails from Ilan Scharf and James I Stang       0.10       700.00           $70.00
                                re agenda

 11/12/2019   IAWN IC           Exchange emails with James I Stang re insurers'        0.10       700.00           $70.00
                                strategy

 11/13/2019   IAWN IC           Exchange emails with James I Stang and Ilan Scharf     0.40       700.00          $280.00
                                re relief from stay objection

 11/14/2019   IAWN IC           Reviewed draft objections and emails re same from      0.80       700.00          $560.00
                                debtor

 11/25/2019   IAWN IC           Review James I Stang email and research from Cia       0.70       700.00          $490.00
                                Mackle

                                                                                      15.00                  $10,500.00

  Meeting of Creditors [B150]
 09/27/2019   JIS     MC        Email to Debtor's counsel regarding hearing/341        0.20       700.00          $140.00
                                dates.

 10/01/2019   JIS     MC        Telephone call with UST regarding 341 meeting.         0.30       700.00          $210.00

 10/02/2019   JIS     MC        Telephone conference with Debtor counsel               0.50       700.00          $350.00
                                regarding 341 meeting and schedules deadline.

 10/02/2019   IDS     MC        Draft questions for committee members for 341          0.70       700.00          $490.00
                                meeting.

 10/06/2019   IDS     MC        Review of First Day Declarations in preparation for    1.20       700.00          $840.00
                                341 meeting.

 10/06/2019   IDS     MC        Review of FY2018 financial statement in                1.80       700.00      $1,260.00
                                preparation for 341 meeting.




         Case 2-19-20905-PRW, Doc 332, Filed 12/17/19, Entered 12/17/19 14:43:44,
                          Description: Main Document , Page 16 of 25
Pachulski Stang Ziehl & Jones LLP                                                            Page:    15
Diocese of Rochester O.C.C.                                                                  Invoice 123646
18489 - 00002                                                                                November 30, 2019


                                                                                     Hours          Rate         Amount

 10/06/2019   IDS     MC        Review of miscellaneous documents in preparation      2.70       700.00      $1,890.00
                                for 341 meeting.

 10/06/2019   IDS     MC        Draft outline of questions for 341 meeting.           2.10       700.00      $1,470.00

 10/07/2019   JIS     MC        Telephone call with Ilan Scharf regarding 341         0.20       700.00          $140.00
                                meeting and SOAL/SOFA issues.

 10/07/2019   IDS     MC        Detailed review of schedules and SOFA                 4.20       700.00      $2,940.00

 10/07/2019   IDS     MC        Prepare questions for 341 meeting.                    1.70       700.00      $1,190.00

 10/07/2019   IDS     MC        Telephone conference with Jim Stang regarding         0.30       700.00          $210.00
                                schedules and SOFA.

 10/08/2019   JIS     MC        Committee call re 341 meeting.                        1.20       700.00          $840.00

 10/08/2019   IDS     MC        Call with committee regarding 341 meeting; Chapter    1.00       700.00          $700.00
                                11 issues.

 10/08/2019   IDS     MC        Telephone conference with Jim Stang regarding 341     0.40       700.00          $280.00
                                Meeting.

 10/08/2019   IDS     MC        Telephone conference with Debtor's counsel            0.50       700.00          $350.00
                                regarding 341 meeting.

 10/08/2019   IDS     MC        Review outline of 341 meeting questions.              1.80       700.00      $1,260.00

 10/09/2019   IDS     MC        Meeting with SCC regarding 341 meeting.               2.20       700.00      $1,540.00

 10/10/2019   IDS     MC        Meet with SCC regarding 341 meeting.                  1.50       700.00      $1,050.00

 10/10/2019   IDS     MC        Telephone conference with JIm Stang regarding 341     0.60       700.00          $420.00
                                meeting.

 10/10/2019   IDS     MC        Prepare for 341 meeting.                              1.50       700.00      $1,050.00

 10/10/2019   IDS     MC        Attend 341 meeting.                                   6.00       700.00      $4,200.00

                                                                                     32.60                  $22,820.00

  Operations [B210]
 10/17/2019   JIS     OP        Draft email to Committee regarding payments to        0.30       700.00          $210.00
                                listed priests.

 10/21/2019   JIS     OP        Telephone call with M. Garabedian and telephone       0.20       700.00          $140.00
                                call with Lee James re payments for insurance for
                                perpetrators.

 10/22/2019   JIS     OP        Telephone call to V. Rivera regarding insurance       0.20       700.00          $140.00
                                premium issues.




         Case 2-19-20905-PRW, Doc 332, Filed 12/17/19, Entered 12/17/19 14:43:44,
                          Description: Main Document , Page 17 of 25
Pachulski Stang Ziehl & Jones LLP                                                              Page:    16
Diocese of Rochester O.C.C.                                                                    Invoice 123646
18489 - 00002                                                                                  November 30, 2019


                                                                                       Hours          Rate         Amount

 10/22/2019   JIS     OP        Telephone call with Committee member regarding          0.20       700.00          $140.00
                                premium insurance payment.

 11/21/2019   IDS     OP        Review pleadings regarding 345 motion.                  1.30       700.00          $910.00

                                                                                        2.20                   $1,540.00

  Retention of Prof. [B160]
 09/26/2019   LSC     RP        Draft retention application, declarations, and          2.40       395.00          $948.00
                                proposed order.

 09/27/2019   JIS     RP        Review and revise employment application,               0.40       700.00          $280.00
                                declaration and order.

 10/03/2019   IDS     RP        Review local counsel disclosures regarding retention    0.30       700.00          $210.00
                                application.

 10/08/2019   IDS     RP        Telephone conference with Jim Stang regarding           0.40       700.00          $280.00
                                local counsel retention.

 10/11/2019   JIS     RP        Email to Committee regarding employment                 0.40       700.00          $280.00
                                application and local counsel.

 10/21/2019   JIS     RP        Review UST email regarding employment order and         0.10       700.00           $70.00
                                telephone call to Shannon Scott re employment
                                application order and instructions to revise.

                                                                                        4.00                   $2,068.00

  Ret. of Prof./Other
 10/03/2019   JIS     RPO       Review emails regarding J. Dove employment              0.20       700.00          $140.00
                                application and respond.

 10/08/2019   JIS     RPO       Telephone calls to various state court counsel re       0.60       700.00          $420.00
                                employment issues.

 10/18/2019   IDS     RPO       Email to Jim Stang regarding conflict issue.            0.20       700.00          $140.00

 10/18/2019   IDS     RPO       Analysis of potential conflict issue.                   1.00       700.00          $700.00

 10/18/2019   IDS     RPO       Email with SCC regarding conflict.                      0.20       700.00          $140.00

 10/21/2019   JIS     RPO       Review email from Debtor's counsel re Stretto           0.10       700.00           $70.00
                                employment application, review application and
                                email to Debtor's counsel re rate schedule.

 11/15/2019   JIS     RPO       Review of amended affidavit for Debtor's counsel.       0.10       700.00           $70.00

                                                                                        2.40                   $1,680.00




         Case 2-19-20905-PRW, Doc 332, Filed 12/17/19, Entered 12/17/19 14:43:44,
                          Description: Main Document , Page 18 of 25
Pachulski Stang Ziehl & Jones LLP                                                               Page:    17
Diocese of Rochester O.C.C.                                                                     Invoice 123646
18489 - 00002                                                                                   November 30, 2019


                                                                                        Hours          Rate         Amount

  Stay Litigation [B140]
 10/14/2019   JIS     SL        Email regarding terms of parish stay.                    0.60       700.00          $420.00

 10/15/2019   JIS     SL        Review comments to letter re parish stay and revise;     0.20       700.00          $140.00
                                email to Debtor's counsel.

 10/29/2019   IDS     SL        Review Continental Motion for stay relief.               0.80       700.00          $560.00

 10/29/2019   IDS     SL        Email to Jim Stang regarding Continental stay relief.    0.20       700.00          $140.00

 10/30/2019   IAWN SL           Review and anayze Continental relief from stay           1.30       700.00          $910.00
                                motion, exchange emails and telephone conference
                                with James I Stang re same

 10/30/2019   IDS     SL        Email memo regarding stay relief.                        0.70       700.00          $490.00

 10/30/2019   IDS     SL        Telephone conference with Jim Stang regarding            0.30       700.00          $210.00
                                Continental Motion

 10/30/2019   IDS     SL        Review stay status of insurance coverage issues in       1.20       700.00          $840.00
                                NY state.

 10/31/2019   VAN     SL        Phone conference with Ilan Scharf regarding              0.20       700.00          $140.00
                                opposition to Continental Insurance motion for relief
                                from stay.

 11/01/2019   LAF     SL        Legal research re: Stay relief to file declaratory       0.50       425.00          $212.50
                                action.

 11/01/2019   VAN     SL        Analysis regarding Continental Insurance relief from     0.60       700.00          $420.00
                                stay motion.

 11/01/2019   SWG     SL        Research regarding insurer relief from stay motion.      1.60       575.00          $920.00

 11/04/2019   IDS     SL        Review case law regarding stay relief.                   0.80       700.00          $560.00

 11/04/2019   IDS     SL        Telephone conference with Steve Golden regarding         0.20       700.00          $140.00
                                response to stay relief.

 11/04/2019   IDS     SL        Email with V. Newmark regarding stay relief              0.30       700.00          $210.00
                                objection.

 11/04/2019   VAN     SL        Analysis regarding Continental Insurance relief from     2.20       700.00      $1,540.00
                                stay motion.

 11/04/2019   SWG     SL        Research issues regarding insurer relief from stay.      5.20       575.00      $2,990.00

 11/05/2019   IDS     SL        Email and respond to S. Golden; email memo               0.50       700.00          $350.00
                                regarding stay relief.

 11/05/2019   VAN     SL        Analysis regarding opposition to Continental             1.20       700.00          $840.00
                                Insurance RFS motion; draft same.




         Case 2-19-20905-PRW, Doc 332, Filed 12/17/19, Entered 12/17/19 14:43:44,
                          Description: Main Document , Page 19 of 25
Pachulski Stang Ziehl & Jones LLP                                                            Page:    18
Diocese of Rochester O.C.C.                                                                  Invoice 123646
18489 - 00002                                                                                November 30, 2019


                                                                                     Hours          Rate         Amount

 11/05/2019   SWG     SL        Research issues re: insurers' lift stay motion        0.50       575.00          $287.50

 11/06/2019   VAN     SL        Analysis regarding opposition to Continental          4.90       700.00      $3,430.00
                                Insurance RFS motion; draft same.

 11/07/2019   VAN     SL        Draft/revise opposition to Continental Insurance      4.80       700.00      $3,360.00
                                RFS motion.

 11/08/2019   JIS     SL        Review CNA stay relief motion and Duluth docket       0.80       700.00          $560.00
                                regarding coverage actions.

 11/08/2019   JIS     SL        Partial review of stay stipulation.                   0.60       700.00          $420.00

 11/08/2019   VAN     SL        Draft/revise opposition to Continental Insurance      3.40       700.00      $2,380.00
                                RFS motion.

 11/11/2019   IDS     SL        Revise stay relief objection.                         1.80       700.00      $1,260.00

 11/11/2019   IDS     SL        Telephone conference with Jim Stang regarding stay    0.30       700.00          $210.00
                                relief objection.

 11/11/2019   IDS     SL        Revise motion/stipulation regarding stay relief.      0.80       700.00          $560.00

 11/12/2019   IAWN SL           Review insurer relief from stay motion and draft      1.20       700.00          $840.00
                                response, propose suggested additional historical
                                information

 11/13/2019   IDS     SL        Emails with Jim Stang. IAWN regarding continental     0.20       700.00          $140.00
                                lift stay.

 11/13/2019   IDS     SL        Review debtor's draft objection to CNA lift stay.     0.80       700.00          $560.00

 11/13/2019   IDS     SL        Revise objection to DNA motion.                       0.70       700.00          $490.00

 11/13/2019   VAN     SL        Attention to opposition to Continental Insurance      0.80       700.00          $560.00
                                relief from stay motion.

 11/14/2019   JIS     SL        Review insurance coverage declaratory relief          0.30       700.00          $210.00
                                complaint.

 11/14/2019   JIS     SL        Review final version of stay relief objection.        0.10       700.00           $70.00

 11/14/2019   IDS     SL        Review debtor objection to stay relief.               1.20       700.00          $840.00

 11/14/2019   IDS     SL        Review insurance declaration.                         0.70       700.00          $490.00

 11/14/2019   IDS     SL        Revise objection to stay relief                       1.80       700.00      $1,260.00

 11/14/2019   LSC     SL        Review and revise opposition to Continental's         0.80       395.00          $316.00
                                motion for relief from stay and correspondence
                                regarding the same (.5); file and serve same (.3).

 11/19/2019   LSC     SL        Research and correspondence in connection with        0.80       395.00          $316.00
                                Continental motion for relief from stay and



         Case 2-19-20905-PRW, Doc 332, Filed 12/17/19, Entered 12/17/19 14:43:44,
                          Description: Main Document , Page 20 of 25
Pachulski Stang Ziehl & Jones LLP                                                       Page:    19
Diocese of Rochester O.C.C.                                                             Invoice 123646
18489 - 00002                                                                           November 30, 2019


                                                                                Hours          Rate         Amount
                                responses/objections thereto.
 11/20/2019   IDS     SL        Revise parish stipulation.                       1.80       700.00       $1,260.00

 11/20/2019   IDS     SL        Prepare for oral arguments on stay relief        4.50       700.00       $3,150.00
                                (continental); review pleadings and caselaw
                                regarding same.

 11/21/2019   IDS     SL        Prepare for oral arguments on stay relief        1.00       700.00          $700.00

 11/25/2019   IDS     SL        Telephone conference with B. Gordon regarding    0.20       700.00          $140.00
                                Parish stipulation.

                                                                                53.40                   $35,842.00

  TOTAL SERVICES FOR THIS MATTER:                                                                     $157,522.50




         Case 2-19-20905-PRW, Doc 332, Filed 12/17/19, Entered 12/17/19 14:43:44,
                          Description: Main Document , Page 21 of 25
Pachulski Stang Ziehl & Jones LLP                                                     Page:    20
Diocese of Rochester O.C.C.                                                           Invoice 123646
18489 - 00002                                                                         November 30, 2019



 Expenses
 10/01/2019   CC         Conference Call [E105] Loop Up Conference Call, JIS              0.21
 10/01/2019   CC         Conference Call [E105] Loop Up Conference Call, JIS            142.78
 10/03/2019   AF         Air Fare [E110] Delta Airlines, Tkt. 006424015747320,          224.80
                         From LAG to ROC, IDS
 10/07/2019   CC         Conference Call [E105] Loop Up Conference Call, JIS             62.08
 10/08/2019   CC         Conference Call [E105] Loop Up Conference Call, JIS             87.72
 10/09/2019   AF         Air Fare [E110] Delta Airlines, from STL to DTW, DTW to        876.81
                         ROC, round trip, J. Cali
 10/10/2019   HT         Hotel Expense [E110] Strathallan Hotel, 09/09/19-09/10/19,     238.70
                         1 nights, J. Cali
 10/10/2019   HT         Hotel Expense [E110] The Strathallan Hotel, 1 night, IDS       260.00
 10/10/2019   TE         Travel Expense [E110] Super Park, Parking Fee, J. Cali          38.00
 10/14/2019   CC         Conference Call [E105] Loop Up Conference Call, JIS              0.35
 10/14/2019   CC         Conference Call [E105] Loop Up Conference Call, JIS             40.80
 10/15/2019   HT         Hotel Expense [E110] Hilton Hotel, 1 night , IDS               350.01
 10/16/2019   HT         Hotel Expense [E110] Hilton Hotel, 1 night, IDS                199.21
 10/16/2019   RE2        SCAN/COPY ( 11 @0.10 PER PG)                                     1.10
 10/17/2019   AF         Air Fare [E110] Delta Airlines, Tkt. 00624035845263, From      409.60
                         LGA to RST , IDS
 10/17/2019   RE2        SCAN/COPY ( 20 @0.10 PER PG)                                     2.00
 10/18/2019   CC         Conference Call [E105] Loop Up Conference Call, JIS              0.22
 10/18/2019   CC         Conference Call [E105] Loop Up Conference Call, JIS             10.77
 10/21/2019   CC         Conference Call [E105] Loop Up Conference Call, JIS             24.57
 10/21/2019   FE         18489.00002 FedEx Charges for 10-21-19                          17.52
 10/21/2019   RE2        SCAN/COPY ( 12 @0.10 PER PG)                                     1.20
 10/23/2019   CC         Conference Call [E105] Loop Up Conference Call, JIS             57.47
 10/24/2019   HT         Hotel Expense [E110] The Strathallan Rochester Hotel, 1        464.26
                         night, IDS
 10/28/2019   CC         Conference Call [E105] Loop Up Conference Call, JIS             30.51
 10/28/2019   FE         18489.00002 FedEx Charges for 10-28-19                          17.52
 10/30/2019   CC         Conference Call [E105] Loop Up Conference Call, JIS             46.54
 10/31/2019   RE2        SCAN/COPY ( 42 @0.10 PER PG)                                     4.20
 10/31/2019   TE         Travel Expense [E110] Travel Insurance, IDS                     23.63
 11/13/2019   FE         18489.00002 FedEx Charges for 11-13-19                          11.84
 11/14/2019   RE2        SCAN/COPY ( 19 @0.10 PER PG)                                     1.90




         Case 2-19-20905-PRW, Doc 332, Filed 12/17/19, Entered 12/17/19 14:43:44,
                          Description: Main Document , Page 22 of 25
Pachulski Stang Ziehl & Jones LLP                                                      Page:    21
Diocese of Rochester O.C.C.                                                            Invoice 123646
18489 - 00002                                                                          November 30, 2019

 11/15/2019   FE         18489.00002 FedEx Charges for 11-15-19                            11.84
 11/21/2019   AF         Air Fare [E110] Delta Airlines, Tkt. 00624043958624, From        132.30
                         RST to JFK, IDS
   Total Expenses for this Matter                                                    $3,790.46




         Case 2-19-20905-PRW, Doc 332, Filed 12/17/19, Entered 12/17/19 14:43:44,
                          Description: Main Document , Page 23 of 25
Pachulski Stang Ziehl & Jones LLP                                                         Page:    22
Diocese of Rochester O.C.C.                                                               Invoice 123646
18489 - 00002                                                                             November 30, 2019


                                                REMITTANCE ADVICE

                                    Please include this Remittance with your payment

For current services rendered through:        11/30/2019

Total Fees                                                                                           $157,522.50

Total Expenses                                                                                          3,790.46

Total Due on Current Invoice                                                                         $161,312.96

  Outstanding Balance from prior invoices as of        11/30/2019          (May not include recent payments)

A/R Bill Number           Invoice Date               Fees Billed        Expenses Billed             Balance Due



             Total Amount Due on Current and Prior Invoices:                                         $161,312.96




         Case 2-19-20905-PRW, Doc 332, Filed 12/17/19, Entered 12/17/19 14:43:44,
                          Description: Main Document , Page 24 of 25
UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK

                                                            )
IN RE:                                                      )    Chapter 11
                                                            )
THE DIOCESE OF ROCHESTER,                                   )    Case No. 19-20905 (CGM)
                                                            )
                               Debtor.                      )
                                                            )

                                  CERTIFICATE OF SERVICE

         I, Sophia L. Lee, an Administrative Assistant at the law firm of Pachulski Stang Ziehl &

Jones LLP, attorneys for The Official Committee of Unsecured Creditors for The Diocese of

Rochester, Inc., being over the age of 18 and residing in Los Angeles, California, hereby certify

under penalty of perjury that on the 17th day of December 2019, I electronically filed the FIRST

MONTHLY FEE STATEMENT OF PACHULSKI STANG ZIEHL & JONES LLP FOR

COMPENSATION FOR SERVICES RENDERED AND REIMBURSEMENT

OF EXPENSES AS COUNSEL TO OFFICIAL COMMITTEE OF UNSECURED CREDITORS

FOR THE DIOCESE OF ROCHESTER FOR THE PERIOD SEPTEMBER 24, 2019 THROUGH

NOVEMBER 30, 2019, with the Clerk of the Bankruptcy Court for the Western District of New

York, using the CM/ECF system.

         I also certify that on December 17, 2019, via First Class Mail, using the United States

Postal Service in the State of California, copies of the above-referenced document were mail to:

Kathleen D. Schmitt, Esq.          Stephen A. Donato
Office of the U.S. Trustee         Bond, Schoeneck & King, PLLC
Federal Office Building            One Lincoln Center
100 State Street, Room 6090        Syracuse, NY 13202-1355
Rochester, NY 14614



Dated: December 17, 2019                                        /s/ Sophia L. Lee
                                                                Sophia L. Lee


DOCS_LA:326608.1 18489/002
   Case 2-19-20905-PRW, Doc 332, Filed 12/17/19, Entered 12/17/19 14:43:44,
                    Description: Main Document , Page 25 of 25
